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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

HELENA DIVISION
UNITED STATES OF AMERICA, No. CR-18-18-H-SEH
Plaintiff,
ORDER
vs.
LYNADA LATICIA MAHONE,
Defendant.

 

 

On September 1, 2020, this Court, in compliance with the Ninth Circuit
Appellate Commissioner’s Order of July 16, 2020, entered an order in this case,
the complete text of which is attached and incorporated by reference as Exhibit
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On September 22, 2020, the office of the Clerk of the Ninth Circuit Court of
Appeals received an additional document submitted by Lynada Laticia Mahone
(“Mahone”) denominated “Motion Requesting Extension of Appeal.” The Ninth
Circuit’s Clerk’s Office forwarded Mahone’s motion to the Clerk of the United
States District Court for the District of Montana for filing. Filing in the District

Court was accomplished on September 23, 2020.'

 

' Doc. 32.
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As this Court’s Order of September 1, 2020,” reflects, Mahone failed to
respond to either the Circuit Order of July 16, 2020,° or this Court’s Order of July
17, 2020, presenting her with the opportunity to “file a request supported by
reliable evidence of good cause or excusable neglect justifying a conclusion by
this Court that the time for Mahone to file an appeal in this case be extended.”
This Court’s September 1, 2020,° Order stated and found, in response to the
Courts’ instructions, “[no] evidence of excusable neglect or good cause to support
an extension of time for filing a notice of appeal has been shown.”

If Mahone’s September 22, 2020, submission to the Clerk of the Ninth
Circuit Court of Appeals was intended as a notice of appeal, it was untimely.’ If it
was intended as a second “Motion Requesting Extension of Appeal,” it was not

submitted until September 23, 2020, well beyond the expiration of the time

 

? Doc. 31.
> Doe. 29.
* Doc. 30 at 2.
* Doe. 31.
* Doc. 31 at 3.

” See Fed. R. App. P. 4(b)(1)(A).
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permitted by appellate rule to grant such an extension.®

ORDERED:

All requests for action or relief sought by Mahone in the September 22,
2020, submission’ are DENIED.

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DATED this _A-day of October, 2020.

“SAM E: HADDON
United States District Judge

 

® Fed. R. App. P. 4(b)(4).

° Doc. 32.
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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

HELENA DIVISION
UNITED STATES OF AMERICA, No. CR-18-18-H-SEH
Plaintiff,
ORDER
vs.
LYNADA LATICIA MAHONE,
Defendant.

 

 

On June 2, 2020, Defendant Lynada Laticia Mahone (“Mahone”) moved the
Court to modify her imprisonment, citing the First Step Act and 18 U.S.C. §
- 3582(c)(1)(A).' The request was denied on June 19, 2020.” Any notice of appeal
from the denial was due on or before July 6, 2020.7 Mahone filed her Notice of
Appeal on July 7, 2020.4

The Ninth Circuit remanded the matter to this Court “for the limited purpose

of permitting the district court to provide appellant [Mahone] notice and an

 

' See Doc. 25 at 2-3.

? See Doc. 26 at 3.

3 See Fed. R. App. P. 4(b)(1)(A), 26(a)(1)(C).

4 See Doc. 27 at 3; Houston v. Lack, 487 U.S. 266, 270-71 (1988).
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opportunity to request that the time for filing the notice of appeal be extended.”

Fed. R. App. P. 4(b)(4) recites:

Motion for Extension of Time. Upon a finding of
excusable neglect or good cause, the district court
may—before or after the time has expired, with or without
motion and notice—extend the time to file a notice of
appeal for a period not to exceed 30 days from the
expiration of the time otherwise prescribed by this Rule
4(b).

The Court ordered Mahone to have to and including August 7, 2020, to file
evidence of good cause or excusable neglect supporting an extension of time. The
notice was served as directed.

The record discloses: (1) notice of the Court’s Order was mailed by the
Clerk on July 17, 2020,° to Mahone; (2) more than thirty days have passed since
the notice of July 17, 2020,” was mailed to Mahone; and (3) no request for
extension of the time for filing notice of appeal has been filed by Mahone.

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5 Doc. 29 at 2 (citing Fed. R. App. P. 4(b)(4); United States v. Ono, 72 F.3d 101, 103 (9th
Cir. 1995) (order); United States v. Stolarz, 547 F.2d 108 (9th Cir. 1976)).

6 Doc, 30.
7 Doc. 30.
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ORDERED:
No evidence of excusable neglect or good cause to support an extension of
time for filing a notice of appeal has been shown.
DATED this 1 “Gay of September, 2020.
den L Moeller
-YAME, HADDON

United States District Judge
